       Case 2:17-cv-01868-RFB-NJK            Document 276   Filed 04/03/24   Page 1 of 7




 1

 2
                               UNITED STATES DISTRICT COURT
 3                                  DISTRICT OF NEVADA
 4

 5                                          Case No. 2:17-cv-01868-RFB-NJK
     In re TAHOE RESOURCES, INC. SECURITIES
 6   LITIGATION                             U.S. FINAL ORDER AND
                                            JUDGMENT
 7

 8
     This Document Relates to: All Actions
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
         Case 2:17-cv-01868-RFB-NJK            Document 276        Filed 04/03/24      Page 2 of 7




 1          WHEREAS:

 2          A.      On May 25, 2023, Lead Plaintiff Tiffany Huynh, as executor for the estate of Kevin

 3   Nguyen, (“U.S. Plaintiff”), individually and on behalf of each member of the U.S. Settlement Class,

 4   Abram B. Dyck, Representative Plaintiff in the Canadian Action, individually and on behalf of each

 5   member of the Canadian Settlement Class, and Defendants Tahoe Resources, Inc. (“Tahoe” or the

 6   “Company”), Ronald W. Clayton, C. Kevin McArthur, Mark T. Sadler, and Edie Hofmeister

 7   (collectively “Defendants”), entered into the Stipulation of Settlement;

 8          B.      Pursuant to the U.S. Order Preliminarily Approving U.S. Settlement and Providing for

 9   Notice, entered November 15, 2023 (the “U.S. Preliminary Approval Order”), the Court scheduled a

10   hearing for February 15, 2024 at 9:15 a.m., to, among other things: (i) determine whether the proposed

11   U.S. Settlement of the U.S. Action on the terms and conditions provided for in the Stipulation is fair,

12   reasonable, and adequate, and should be approved by the Court; (ii) determine whether a judgment as

13   provided for in the Stipulation should be entered; and (iii) rule on U.S. Plaintiff’s Counsel’s Fee and

14   Expense Application;

15          C.      The Court ordered that the Notice of Pendency and Proposed Settlement of Class

16   Action Lawsuit Pending in United States District Court for the District of Nevada (the “U.S. Notice”)

17   and a U.S. Proof of Claim and Release Form (“U.S. Claim Form”), substantially in the forms attached

18   to the U.S. Preliminary Approval Order as Exhibits 1 and 2, respectively, be mailed by first-class mail,

19   postage prepaid, on or before twenty-one (21) calendar days after the date of entry of the U.S.

20   Preliminary Approval Order (“U.S. Notice Date”) to all potential U.S. Settlement Class Members to

21   the list of record holders of Tahoe common stock, and that a Summary Notice of Pendency and

22   Proposed Settlement of Class Action Lawsuit Pending in United States District Court for the District

23   of Nevada (the “U.S. Summary Notice”), substantially in the form attached to the U.S. Preliminary

24   Approval Order as Exhibit 3, be published in Investor’s Business Daily and transmitted over

25   GlobeNewswire within fourteen (14) calendar days of the U.S. Notice Date;

26          D.      The U.S. Notice and the U.S. Summary Notice advised potential U.S. Settlement Class

27   Members of the date, time, place, and purpose of the U.S. Settlement Hearing. The U.S. Notice

28   further advised that any objections to the U.S. Settlement were required to be filed with the Court and

                                                      1
         Case 2:17-cv-01868-RFB-NJK             Document 276        Filed 04/03/24      Page 3 of 7




 1   served on counsel for the U.S. parties such that they were received by January 18, 2024;

 2           E.      The provisions of the U.S. Preliminary Approval Order as to notice were complied

 3   with;

 4           F.      On December 14, 2023, U.S. Plaintiff moved for final approval of the U.S. Settlement,

 5   as set forth in the U.S. Preliminary Approval Order. The U.S. Settlement Hearing was duly held

 6   before this Court on February 15, 2024, at which time all interested Persons were afforded the

 7   opportunity to be heard; and

 8           G.      This Court has duly considered U.S. Plaintiff’s motion for final approval of the U.S.

 9   Settlement, the affidavits, declarations, memoranda of law submitted in support thereof, the

10   Stipulation, and all of the submissions and arguments presented with respect to the proposed U.S.

11   Settlement;

12           NOW, THEREFORE, after due deliberation, IT IS ORDERED, ADJUDGED AND

13   DECREED that:

14           1.      This U.S. Judgment incorporates and makes a part hereof: (i) the Stipulation of

15   Settlement filed with the Court on May 25, 2023; and (ii) the U.S. Notice, which was filed with the

16   Court on May 25, 2023. Capitalized terms not defined in this U.S. Judgment shall have the meaning

17   set forth in the Stipulation.

18           2.      This Court has jurisdiction over the subject matter of the U.S. Action and over all

19   parties to the U.S. Action, including all U.S. Settlement Class Members.

20           3.      The Court finds that that the mailing and publication of the U.S. Notice, U.S. Claim

21   Form, and U.S. Summary Notice: (i) complied with the U.S. Preliminary Approval Order; (ii)

22   constituted the best notice practicable under the circumstances; (iii) constituted notice that was

23   reasonably calculated to apprise U.S. Settlement Class Members of the effect of the Settlement, of the

24   proposed U.S. Plan of Allocation, of U.S. Plaintiff’s Counsel’s anticipated Fee and Expense

25   Application, of U.S. Settlement Class Members’ right to object or seek exclusion from the U.S.

26   Settlement Class, and of their right to appear at the U.S. Settlement Hearing; (iv) constituted due,

27   adequate, and sufficient notice to all Persons entitled to receive notice of the proposed U.S.

28   Settlement; and (v) satisfied the notice requirements of Rule 23 of the Federal Rules of Civil

                                                      2
         Case 2:17-cv-01868-RFB-NJK             Document 276         Filed 04/03/24       Page 4 of 7




 1   Procedure, the United States Constitution (including the Due Process Clause), and the Private

 2   Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C. § 78u-4(a)(7).

 3          4.      One objection was received, ECF No. 264, and was subsequently withdrawn, ECF No.

 4   270.

 5          5.      Pursuant to Rule 23(e)(2) of the Federal Rules of Civil Procedure, the Court hereby

 6   approves the U.S. Settlement and finds that in light of the benefits to the U.S. Settlement Class, the

 7   complexity and expense of further litigation, and the costs of continued litigation, said U.S. Settlement

 8   is, in all respects, fair, reasonable, and adequate, having considered and found that: (a) U.S. Plaintiff

 9   and U.S. Plaintiff’s Counsel have adequately represented the U.S. Settlement Class; (b) the proposal

10   was negotiated at arm’s-length; (c) the relief provided for the U.S. Settlement Class is adequate,

11   having taken into account (i) the costs, risks, and delay of trial and appeal; (ii) the effectiveness of any

12   proposed method of distributing relief to the U.S. Settlement Class, including the method of

13   processing U.S. Settlement Class Member claims; (iii) the terms of any proposed award of attorneys’

14   fees, including timing of payment; and (iv) any agreement required to be identified under Rule

15   23(e)(3); and (d) the proposed U.S. Plan of Allocation treats U.S. Settlement Class Members equitably

16   relative to each other. Accordingly, the U.S. Settlement is hereby approved in all respects and shall be

17   consummated in accordance with the terms and provisions of the Stipulation.

18          6.      The Consolidated Amended Class Action Complaint (“AC”), filed on August 31, 2018,

19   is dismissed in its entirety, with prejudice, and without costs to any Party, except as otherwise

20   provided in the Stipulation.

21          7.      The Court finds that during the course of the U.S. Action, the U.S. parties and their

22   respective counsel at all times complied with the requirements of Rule 11 of the Federal Rules of Civil

23   Procedure.

24          8.      Upon the Effective Date, U.S. Plaintiff and each and every other U.S. Settlement Class

25   Member, on behalf of themselves and each of their respective heirs, executors, trustees, administrators,

26   predecessors, successors, and assigns, in their capacities as such, shall be deemed to have fully, finally,

27   and forever waived, released, discharged, and dismissed each and every one of the Released Claims

28   against each and every one of the Released Defendant Parties and shall forever be barred and enjoined

                                                       3
         Case 2:17-cv-01868-RFB-NJK              Document 276         Filed 04/03/24    Page 5 of 7




 1   from commencing, instituting, prosecuting, or maintaining any and all of the Released Claims against

 2   any and all of the Released Defendant Parties.

 3           9.      Upon the Effective Date, Defendants, on behalf of themselves and each of their

 4   respective heirs, executors, trustees, administrators, predecessors, successors, and assigns, in their

 5   capacities as such, shall be deemed to have fully, finally, and forever waived, released, discharged, and

 6   dismissed each and every one of the Released Defendants’ Claims against each and every one of the

 7   Released Plaintiff Parties and shall forever be barred and enjoined from commencing, instituting,

 8   prosecuting, or maintaining any and all of the Released Defendants’ Claims against any and all of the

 9   Released Plaintiff Parties.

10           10.     Each U.S. Settlement Class Member, whether or not such U.S. Settlement Class

11   Member executes and delivers a U.S. Claim Form, is bound by this U.S. Judgment, including, without

12   limitation, the release of claims as set forth in the Stipulation.

13           11.     This U.S. Judgment and the Stipulation, whether or not consummated, and any

14   discussion, negotiation, proceeding, or agreement relating to the Stipulation, the U.S. Settlement, and

15   any matter arising in connection with settlement discussions or negotiations, proceedings, or

16   agreements, shall not be offered or received against or to the prejudice of the U.S. parties or their

17   respective counsel, for any purpose other than in an action to enforce the terms hereof, and in

18   particular:

19                   a.      Do not constitute, and shall not be offered or received against or to the prejudice

20   of Defendants as evidence of, or construed as, or deemed to be evidence of any presumption,

21   concession, or admission by Defendants with respect to the truth of any allegation by U.S. Plaintiff

22   and the U.S. Settlement Class, or the validity of any claim that has been or could have been asserted in

23   the U.S. Action or in any litigation, including, but not limited to the Released U.S. Claims, or of any

24   liability, damages, negligence, fault or wrongdoing of Defendants or any person or entity whatsoever;

25                   b.      Do not constitute, and shall not be offered or received against or to the prejudice

26   of Defendants as evidence of a presumption, concession, or admission of any fault, misrepresentation,

27   or omission with respect to any statement or written document approved or made by Defendants, or

28   against or to the prejudice of U.S. Plaintiff, or any other member of the U.S. Settlement Class as

                                                        4
         Case 2:17-cv-01868-RFB-NJK               Document 276        Filed 04/03/24      Page 6 of 7




 1   evidence of any infirmity in the claims of U.S. Plaintiff, or the other members of the U.S. Settlement

 2   Class;

 3                      c.     Do not constitute, and shall not be offered or received against or to the prejudice

 4   of Defendants, U.S. Plaintiff, any other member of the U.S. Settlement Class, or their respective

 5   counsel, as evidence of a presumption, concession, or admission with respect to any liability, damages,

 6   negligence, fault, infirmity, or wrongdoing, or in any way referred to for any other reason against or to

 7   the prejudice of any of the Defendants, U.S. Plaintiff, other members of the U.S. Settlement Class, or

 8   their respective counsel, in any other civil, criminal, or administrative action or proceeding, other than

 9   such proceedings as may be necessary to effectuate the provisions of the Stipulation;

10                      d.     Do not constitute, and shall not be construed against Defendants, U.S. Plaintiff,

11   or any other member of the U.S. Settlement Class, as an admission or concession that the

12   consideration to be given hereunder represents the amount that could be or would have been recovered

13   after trial; and

14                      e.     Do not constitute, and shall not be construed as or received in evidence as an

15   admission, concession, or presumption against U.S. Plaintiff, or any other member of the U.S.

16   Settlement Class that any of their claims are without merit or infirm or that damages recoverable under

17   the AC would not have exceeded the U.S. Settlement Amount. Within sixty (60) days of the entry of

18   this U.S. Judgment, U.S. Plaintiff shall return or certify the deletion of all discovery documents

19   produced by Defendants and Defendants shall return or certify the deletion of all discovery documents

20   produced by U.S. Plaintiff.

21            12.       The administration of the U.S. Settlement, and the decision of all disputed questions of

22   law and fact with respect to the validity of any claim or right of any Person to participate in the

23   distribution of the U.S. Net Settlement Fund, shall remain under the authority of this Court.

24            13.       In the event that the U.S. Settlement does not become effective in accordance with the

25   terms of the Stipulation, then this U.S. Judgment shall be rendered null and void to the extent provided

26   by and in accordance with the Stipulation and shall be vacated, and in such event, all orders entered

27   and releases delivered in connection herewith shall be null and void to the extent provided by and in

28   accordance with the Stipulation.

                                                         5
         Case 2:17-cv-01868-RFB-NJK             Document 276          Filed 04/03/24    Page 7 of 7




 1          14.     Without further order of the Court, the U.S. parties may agree to reasonable extensions

 2   of time to carry out any of the provisions of the Stipulation.

 3          15.     The U.S. parties are hereby directed to execute the Stipulation and to perform its terms.

 4          16.     The Court hereby finds that the proposed U.S. Plan of Allocation is a fair and

 5   reasonable method to allocate the U.S. Settlement Fund among U.S. Settlement Class Members, and

 6   U.S. Plaintiff’s Counsel and the U.S. Claims Administrator are directed to administer the U.S. Plan of

 7   Allocation in accordance with its terms and the terms of the Stipulation.

 8          17.     U.S. Plaintiff’s Counsel is awarded attorneys’ fees in the amount of $6,435,000.00, and

 9   expenses in the amount of $886,464.29, plus any applicable interest, and these amounts shall be paid

10   out of the U.S. Settlement Fund immediately following entry of this Order subject to the terms,

11   conditions, and obligations of the Stipulation, which terms, conditions, and obligations are

12   incorporated herein.

13          18.     U.S. Plaintiff is awarded in total $10,000.00, as an award for reasonable costs and

14   expenses directly relating to the representation of the U.S. Settlement Class as provided in 15 U.S.C. §

15   78u-4(a)(4), such amounts to be paid from the U.S. Settlement Fund upon the Effective Date of the

16   U.S. Settlement.

17          19.     Without affecting the finality of this Judgment in any way, this Court hereby retains

18   continuing jurisdiction over: (i) implementation of the Settlement; (ii) the allowance, disallowance or

19   adjustment of any U.S. Settlement Class Member’s claim on equitable grounds and any award or

20   distribution of the U.S. Settlement Fund; (iii) disposition of the U.S. Settlement Fund; (iv) any

21   applications for attorneys’ fees, costs, interest and payment of expenses in the U.S. Action; (v) all U.S.

22   parties for the purpose of construing, enforcing and administering the U.S. Settlement and this U.S.

23   Judgment; and (vi) other matters related or ancillary to the foregoing. There is no just reason for delay

24   in the entry of this Judgment and immediate entry by the Clerk of the Court is expressly directed. The

25   Clerk of Court is further directed to close this matter accordingly.

26                                                  _______________________________________
              IT IS SO ORDERED.
                                                    THE HONORABLE RICHARD F. BOULWARE, II
27           DATED: April 3, 2024                   UNITED STATES DISTRICT JUDGE
28

                                                       6
